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                       United States District Court
                        Northern District of Texas
                            Lubbock Division

   State of Texas,
        Plaintiff,
   v.                                                     No. 5:23-cv-34-H
   Merrick Garland, et al.,

        Defendants.


         Texas’s Motion for Preliminary Injunction

        The State of Texas moves that the Court issue a preliminary injunction

   prohibiting the Court from enforcing the Consolidated Appropriations Act, 2023.

   It supports that motion with the accompanying brief.



    Dated April 4, 2023.                      Respectfully submitted.

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                     Certificate of Conference

       I certify that I conferred with counsel for the Defendants on April 4, 2023.

   They informed me that the Defendants oppose this motion.
                                          /s/ Ethan Szumanski

                         Certificate of Service

       I certify that on April 4, 2023, this motion was filed through the Court’s

   CM/ECF system, which serves it upon all counsel of record.
                                          /s/ Ethan Szumanski
